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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                  CASE NO.: 9:17-cv-81307-DMM

   AFFORDABLE AERIAL PHOTOGRAPHY,
   INC.,

                  Plaintiff,

   v.

   VILLA VALENTINA REALTY LLC AND
   VALENTINA AVED,

                  Defendants.


                               DECLARATION OF ROBERT STEVENS

          I, Robert Stevens state the following:

          1.      I am over the age of 18 and otherwise competent to testify. I make the following

   statements based on personal knowledge.

          2.      I reside in West Palm Beach, Florida. I am an experienced professional

   photographer and make a living from photography. Through AAP, I provide high-end real estate

   photography services to real estate brokers and agents in South Florida.

          3.      I am AAP’s principal photographer and its founder. My work is sought after by

   real estate professionals throughout South Florida. For the past eight years, I have photographed

   some of the most expensive real estate listings in U.S. history, including Donald Trump’s mega-

   mansion in Palm Beach listed for $125 million. From Palm Beach to California, the Bahamas

   and New York, I have been contracted to photograph the estates of Madonna, Celine Dion, Don

   King, Greg Norman, Rod Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann

   Downey, Frank McKinney, Bill Gates, Tommy Lee Jones, Bryant Gumble and Chris Evert.
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          4.      The techniques that I use are difficult to execute effectively. My photos are made

   using special aerial photography capture techniques that employ drones or other technology to

   capture photographs from angles that would not otherwise be possible.

          5.      I created two photographs of The Rapallo Condominium in West Palm Beach,

   Florida, titled “Rapallo West Palm aerial A 2009 AAP” and “02” which are shown below and

   referred to herein as the “Works."




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          6.      I registered the Works with the Register of Copyrights on August 9, 2013 and

   July 7, 2015 and was assigned the registration numbers VA 1-947-093 and VA 1-967-719,

   respectively. The certificates of Registration are attached hereto as Exhibit 1.

          7.      AAP own all rights, title, and interest, including copyrights, in and to the Works

   by nature of both written assignment by me to AAP and by nature of the fact that the Works

   were works for hire taken on behalf of AAP.

          8.      Significant technical attributes were required to make the Works including;

   monitoring the environment with regard to atmospheric conditions, cloud cover, wind speed,

   wind direction, and precipitation; extensive image location scouting to identify potential photo

   locations, angles, elevations, accessibility, and security issues; obtaining authorizations to secure



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   access to private property; and using advanced photo exposure control, both in-camera and via

   post-production software, to ensure a common brightness, contract, clarity, color temperature,

   color saturation, color tonality, and image noise reduction.

          9.      The Works are scarce not only due to their high quality but also the unique

   techniques applied to achieve such amazing results.

          10.     The typical range of fees I receive for creating and licensing the right to make

   non-exclusive commercial use (meaning use for purposes of advertising or promoting the

   licensee’s business) and displaying on the internet of one of my copyrighted photographs similar

   in quality and popularity to the Works is approximately $1,000, per year, per photograph.

          11.     It is my understanding that Villa Valentina Realty LLC (“Villa Valentina”) is a

   Florida based real estate brokerage that employs Valentina Aved as an agent.

          12.     On April 26, 2016, Villa Valentina, by and through its agent Valentina Aved

   (“Aved”), copied the Works without my permission and used them to advertise for the sale of a

   property located at 1801 S Flagler Drive in West Palm Beach, Florida via the Multiple Listing

   Service. Evidence of Villa Valentina’s infringement is attached hereto as Exhibit 2.

          13.     Neither Villa Valentina or Aved has never been licensed to use the Works for any

   purpose.

          14.     After the Defendants copied the Works, it made further copies and distributed the

   Works on the internet to promote the sale of its goods and services.

          15.     Had Villa Valentina hired AAP to create and license the Works and to reproduce

   and display the Works on its website, I would have charged at least $2,000 per year to use the

   photographs.




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